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   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
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  12    ARTHUR PETER LERMA,                         Case No. 2:17-cv-01421-VBF (SHK)

  13                              Petitioner,
                                                    ORDER ACCEPTING FINDINGS
  14                       v.                       AND RECOMMENDATION OF
                                                    UNITED STATES MAGISTRATE
  15    CHRISTINE PFIEFER, Warden,                  JUDGE
  16                              Respondent.
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  18         Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended
  19   Petition (“FAP”), the relevant records on file, and the Report and Recommendation
  20   of the United States Magistrate Judge. The Court has engaged in de novo review
  21   of those portions of the Report to which Petitioner has objected. The Court accepts
  22   the findings and recommendation of the Magistrate Judge.
  23         IT IS THEREFORE ORDERED that the FAP is DENIED and that
  24   Judgment be entered dismissing this action with prejudice.
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  26   Dated: October 31, 2021                      /s/ Valerie Baker Fairbank
  27                                            HON. VALERIE BAKER FAIRBANK
                                                United States District Judge
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